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U.S. v. Carnpbell Fclony Adult Defendant Crlmlne.$u€ase 61

 

 

 

 

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Z,Z. CLA[M STATUS E] Final Payment \:l [nterim Payment Numher _,____ I:] Supplemental Payrnent
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l swear or affirm the truth or correctness of the above statements

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UNITED sTATE DRISTIC COUR - WSTERN D's'TRCT oFTENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

